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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )   8:09CR104
                                              )
                      vs.                     ) ORDER FOR DISMISSAL
                                              )
PEDRO ROMERO,                                 )
                                              )
                      Defendant.              )

       NOW ON THIS 3rd day of May, 2010, this matter is before the Court on the United States’

Motion for Dismissal (Filing No. 88). The Court, being duly advised in the premises, finds said

Motion should be sustained.

       IT IS HEREBY ORDERED:

       1.   Leave is Court is granted for the United States to dismiss, without prejudice, the

Indictment filed herein as to the Defendant, Pedro Romero.

       2. The Indictment filed herein is hereby dismissed, without prejudice, as it pertains to the

Defendant, Pedro Romero.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              Chief Judge, United States District Court
